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                                                               .,.~   ,




     DENNIS LOCK PRO SE
 1   450 HIGHWAY 99 N                            The Honorable Ann Aiken presiding
     EUGENE OR 97402
 3   541-514-1741

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 7
                                UNITES STATES CIRCUIT COURT
 9
                                    DISTRICT OF OREGON
11

13                                                     Case No.6-10CV-6079-AA
              DENNIS LOCK PRO SE,                             EX PARTE
15                                                PETITION FOR WRIT OF PROTECTION
                   plaintiff,                                CONSPIRACY
17                                                ~QUEST FOR RECONSIDERATION AND
                      vs.                                     DETAILS
19
           STATE OF CALIFORNIA ET AL,
21
                   Defendant
23
     Plaintiff prays to the court because of the blatant disregard California and
25

27   six unknown agents have shown contempt for every aspect of the legal process

     that a democracy is dependant such processes are the core of what the
29
     constitution was designed to protect, as stated in complaint plaintiff can
31
     only anticipate a growing effort to conceal their nefarious seditious and
33
     treasonous activities through activities that only a miscreant mind familiar
35
     with the law could produce but possibly include planting evidence or
37
     falsifying drug tests and claiming these are self fulfilling prophesies.
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41   Above is the opening paragraph of the initial request for protection. If we

43   take into consideration the original action is practically prima fascia and

45   since the original filing of this action two more actions have been filed

     that fully support the original contention (both actions practically, prima
47
     fascia) of plaintiff that the government is framing plaintiff for holding
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                            WRIT PROTECTION RECONSIDERATION - 1
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     anti fascist government views and his effort to   e~pose   and stop over 39 years
 1
     of civil rights violations of homeless and himself.
 3
     Plaintiff also sates he believes since having moved to Oregon the 6 Unknowns
 5   have used Hare Krishna's, David Minor, Bhakta Ran and Nandadulal Das with

 7   miscaptioned photos easily deceiving until brought to court and David Gerber,

 9   publisher of The Vagabond newspaper here in Eugene to manufacture evidence

11   and have intimidated attorneys, including Brian Williams and Saint Vincent De

     paul and Eugene Mission personnel, Terry McDonnell and Richard Savage because
13
     they are dependent and extort able by threat to withdraw funding. Apparently
15
     the whole federal informant phalanx is in play in the form of a 'Rainbow safe
17
     hause' converted by the Feds into a Sting and manufacture evidence
19
     contrivance. It is doubtful this has all gone into play just like in
21   California (setting scenarios to get information they have dane 50 times
23   before all while knowing the answer at the beginning because they are just

25   making up the investigation to harass) showing a common author with a common

27   purpose that are violations of civil rights to the point of sedition without

     these protracted efforts going to fruition and this demands a protective
29
     order to guarantee the interest of justice. If we allow this travesty of
31
     justice then we had better just hoist the swastika over the D.C. Capital
33
     building and await the terrible judgment of God Almighty
35

37   THEREFORE: In the name of the Almighty God, who speaks the destiny of America
39   and Democracy which depends upon unpolluted tourts for its very existence,

41   plaintiff prays to the court to reveal the details of the courts thinking

43   that would indicate why California and 6 Unknown Agents would not continue

     even mare unbridled until same kind of sadistic neo Nazi atrocity is
45
     perpetrated since they must feel same sense of arrogance from deceiving so
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     many people again and apparently even the courts.
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                          WRIT PROTECTION RECONSIDERATION - 2
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 1

 3
     And reconsider the issuance of the orders to be implemented as the only just
 5   American, Democratic course of action and begin to put out Country back on

 7   the Constitution.

 9   Also plaintiff prays the court to ignore the poor form of a brain damaged pro

11   se advocate and address the substance of this issue.

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                                            Dated this 10th       of September, 2010
23

                                                      By:
25
                                                                NIS LOCK PRO SE
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                          WRIT PROTECTION RECONSIDERATION - 3
